7

Case 2:15-cV-02279-.]AD-GWF Document 10-1 Filed 09/07/16 Page 1 of 16

SUGGESTED ALTERNATIVE
FAST-TRACK
READ 2NQ

 

This is an expedited alternative to effect a Finag:§§dgm§nt for Ca§gj§g§g§v§§-
cv-2279 in the U.S. District Court for the District of Nerada¢'E~§§§L§@g@§§§§§£§§§g£§g__
s:

eral lnstructions documents. Please recognize the following page

 

A) One (_1) pagerelGoverjhetterEto'Clerk of Court SEP "? 2016

 

 

 

a) Plaintiff is to sign at bottom, and CLERK US DISTR|CT COURT

w""`ghijlaintiff¢is“toreturh“this"itemwto¢l{'l‘'via`ove"‘i§;l;te*nexm$d§§FT§Uf$|§ry`.béP`lm`

 

 

 

B) Two (2) pages repRequest for Judgment with proposed Final Judgment

a) Plaintiff is to sign and date, day & month as 25'July,¢ Request at lower por-
tion in 2 places where indicated, and '
b) Plaintiff is to return this item to KT via overnite next day delivery.

C) Three (3) p’ges re Notice of Acceptance of Offer of Judgment

a) There is one (1) for each named defendant;

b) Plaintiff is to date, day & month as 25 July.,-o each the same`in “'s 1, 3 and 4
where indicated;

c) Plaintiff is to sign in 2 places @ U's 3 and 5 where indicated, and

d) Plaintiff is to return these items to KT via overnite next day delivery.

D) Three (3) pages re OEfer of Judgment

a) Plaintiff is to sign ONLY page 6 of 32 @ bottom on line where indicated;

b) KT is to sign ONLY page 6 of 32'@ bottom on line where indicated for defendant
HNIUS;

c) Plaintiff is to sign ONLY page 10 of 32 on line where indicated;

d) Plaintiff is to sign ONLY page 11 of 32 on line where indicated:

e) KT is to sign ONLY page 11 of 32 on line where indicated, and

f) Plaintiff is to return these items to KT via overnite next day delivery.

E) Three (3) pages re Notice of Non-Monetary Arbitration ( letter to AAA)

a) KT is to sign ONEY on line where indicated for defendant HARRIS @ page 3 of3;

b) Plaintiff is to sign ONLY in 2 places on pages 2 and 3 of 3 where indicated
and HOLD this docuemnt untill the Final Judgment is issued by'Clerk of Court, and

c) At the moment the Final Judgment is issued Plaintiff is to send this 3 page

letter to AAA with a copy to defendants and privities @ addresses indicated at bottom of
page 2 of 3.

Page l of 3

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PROCEDURES: :

Upon KT's receipt of the suggested alternative fast-track docuemnts, 13 pages,
he is required to sign all pages where indicated for defendants and then forthwithly
contactCEIUVB see contact infirmation in General lnstructions, for arrangements telling
him that he is sending docs via overnite next day delivery for plaintiff to sign and re-
turn back to him asap for KT's hand-delivery filing with the Clerk and KT's in person
waiting with Clerk for issuance of the FinallJudgment, as per 2nd page of B above, Re-
quest for Judgment with proposed Final Judgment.

KT is to get back from Plaintiff]§)signed pages and Plaintiff is to keep the 3
W'pagés,`letter tb`AAATsignedfby her & KT`for'defendant*HARRlS,"that`she“will“send*off*to ********
AAA, defendants and privities as soon as Final Judgment is issued by Clerk.

KJ;after sending fast-track docs, 13 pages.to{HEENB will follow the General ln-

structions for ALL other documents requiring defendants' signing and dating, as day &
month.19 July, except those docs which were senttbOIU]VB:for Plaintiff's attention.

Plaintiff is to return signed and dated]I)pages via overnite next day delivery
to KT, at which time KI will exchange these completed pages for the unsigned copies in
his possession and then reassemble the entire 3rd & final filing in its totality, making

certain that no instruction pages have been included and that all docs requiring to be
stapled have been. §Qercer 40 @\ene~ra.l Ih$i'mchons (3¢1~ clara"l"j.

At this point, KT, after a final inspection\of the reassembled filing, is to
hand-deliver the filing to the Clerk's office and ask for issuance of the Final Judgment,
as referenced in B above.

lt is suggested that KT take a valid photo lD with him to the Clerk¥s office to

' prove his status as a party thru poa, which is attached @ pages 32 of 32A, 32 of 32B and
32 of 320 of the Offer of Judgment, that entitles KT to receive a copy of the Final Judg-
ment1 as per 2nd page of B above of the Request for Judgment with proposed Final Judgment.

KT is to wait if possible for issuance of the Final Judgment or ask what time he
can return to pick it up, or whatever else is worked out to conveniently obtain it.

At‘all times during this process, KT is to openly/actively communicate with OIII
or VB or to a third contact, Don Harris (DH), son of defendant, phéne @ 609-513»9174» "
email @ donharris.ac@icloud.com, to get this filing completed. See also contact informa-

tion in General lnstructions for Olll & VB.

This fast-track process is an option and your choice to do as you see fit. Should
anyone want a copy of the final filing, they can simply go to PACER.goV after it has been
filed and download a copy at their leisure.

Page 2 of 3

Case 2:15-cV-02279-.]AD-GWF Document 10-1 Filed 09/07/16 Page 3 of 16

Plaintiff is to make copy/ scan and retain pages 6, 10 and 11 oFSZ'l'fer herrecsrds
as well as a copy of her signed letter to AAA. This is y§§§;lM§QRIANLLLLL

KT will have unsigned copies that he is to retain should items get lost in mail-
ing to Olll` for Plaintiff's signing or otherwise.

Please DO NOT DISCARD ANY DOCUMENT 'ntil the Final Judgment has been issued by
the Clerk of Court.

KT, please keep these pages stapled. You are a,le tc copy the directions for
alia fas,t,',tta<%li_n<zs¢$s, w§°-Ph,\?hem atta¢hed; , asserts S‘l n°ng them as well~

Plaintiff is to detach.her 3 page letter to AAA and send §§pages to KT Via over-
nite next day delivery asap.

We need to get to.arbitration as soon as possibleiz)resslve* our situations!!!!

We sincerely appreciate and thank you all for your kind and prompt attention to

these matters.
Please use blue ink when signing & dating documents!!!!
F) Promissory Note - Extension No. 1
a) K'I` is to send plaintiff this document for her signature where indicated on the

note as the assignee/maker.
b) After plaintiff signs on line where indicated, she is to return the note to

KT for his acceptance by his signing for the defendant where indicated. 4
c) Upon KT's receipt and acceptance of the note extension no. 1, along with copies
of the other 2 promissory note extension no. l's (See lnstructions-#l$) in a safe/secure

place until time for their use.
d) KT is to send plaintiff a copy of the newly accepted note referenced in H a

above for her records.

Note: Please use blue ink when signing where possible.

Page 3 of 3

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' ’ 5 July,.Common Era 2016

Clerk of Court

United States District Court
For the District of Nevada
333 Las Vegas Blvd.-South
lst Floor

Las Vegas, NV 89101~7065

Re= case No. 2:15-cv-2279 (B'AILEY v. HARRIS,ET AL.)

Greetings:

Please recognize the following document for filing, Request For Judgment, in the
above referenced case. Please note Plaintiff's address for your records.

Sincerely,

` by= …i Q/Q il
VIANA V._ BAILEY
Plaintiff:"1 §§
124.N» Virginia Aven

:..At]_antj_c Cj_ty, N.J.;£,GS¢FO]:

encls.
cc: Defendants
file

` `¢' " ' _' ` ` U'iank‘YOU¢fOl'-' ' YOU`l'-`j kind"afd`pfbmp't_ '§t`féifj:©ff" f‘._O_` fh_i:§hmf§f~_ ‘ *`*i` ` "' ` ‘ in j m j ' f j ` " " _ "

Case 2'15-cV-02279-.]AD-GWF Document 10-1 Filed 09/07/16 Page 5 of 16

VIAMV. may (609)742-7&¥¢.
s’ :nnN.vngnnaAene -
~t- . »Q%m. . uniTEo sTATrs oisrnror count
w mg Clty’N"I" FoR TH.E DISTRIGT or NEVADA

VIANA V . BAILEY

!

ease No. 2=15§¢v~2279
Plaintiff,

RrQuEsr ton JuooMENr, Fed.n.civ.t. 68

v' ‘ AtFIRMATloN AND vERIFIoATloN, 28 uscs
witme oscar HARRIS, tr AL., - § 17&6 _('1)

' ` " ~`»- Defendants, _

':.

 

Toz‘ `Clerk of Court,,_

-‘ a) Notice of Acceptance of Offer of Judgment, Fed.R.Civ.P. 68;
b) offer of Jqument, Fed.R.civ.P. 68;

c) Certificate lof Service, see lAcceptance of Offer .of at il (a) above, and

d) Claim for Mandatory Judicial Notice Nos. 1, 2, 3, 4, 5_' and 6.

Pursuant to the mandatory pr

`_visions of Fed.R.Civ.l’. 68 (a), this Plaintiffherel')y
regue.sts that theiClerk of this Court ent

er one (1)' final judgment herein, as specifica].~
ly§ required in the attached ' exec'dt'ed"O_ffer "of dhdgment, fully incorporating ALL of
died therein, and'the evidentiary_doctnnents' being filed con~
currently herewith as denoted in il (d) above, as they relate to each of* these three (3)
named defendants and ALL of the parties in privity recorded in_ these and other court-filed
documents or otherwise, d

without further delay.‘ See attached proposed Final Judgment.

AFFIRM§TION AND VERIFICATION

ln accordance with 26 USCS § 1746 (1), under the pains _and penalties of perjury,
. l go hereby affirm and verify that the foregoing is A_LL true, corfect, C€rll€\`lr\, CO'UPl€tP-
and not misleading as done , signed and presented this L§ day Of »_ ll_\\\
ark 2016. . '

§ . , Common
bya_flli:lll .i/&/¥

' VIANA V. BAlLE , Plaintiff
y w cERTIEIGAtt OF.sERVLCE
On_ this 7/§ day of :LL\\; `
the U.Sa Mails as follows: _
wlLiJAM oscAn HARRIS 'nosrnr oAvmn NEAL sales marion
Cornerstone Place 1 907 Cornerstone Place .907 .Cornerstone Place
Las Vegas, NV 89031 Las Vegas, NV 89031 .

. jas Ve as;, NV '89031
by; ~ 111 M .

VIANA v. BAldEY; Plaintiff
1'24` N"." Virginia Ave. '
Atlantic City, N.J. 08401

the terms and conditions embo

,_` Common Era»‘2016,~: l did place the foregoing in

Case 2:15-cv-022791M|}E%W§:TAQ%%L{ngr§tI,JRO[-&T Fé|§gRQlQ/O?/M Page 6 of 16

FOR THE DISTRI'CT OF NEVADA

VlANA.V. BAILEY, 'Case No. 2:15-cv-2279

Plaintiff, F]NAL JUDGMENT, Fed.R.'civ.P. 68

V-

WILLIAM OSCAR HARRl'S, ET Al.,
Defendants.

\/\./\/\_/\/\./\./\/\./

 

1. Final Judgment is hereby entered in Favor of the Plaintiff pursuant to Fed.R.Civ.P.
68.

2. This Final Judgment is taken in accordance with the terms and conditions of the un-
conditionally accepted "Offer of Judgment, Fed.R.Civ.P. 68."

3. This Final Judgment ratifies and fully incorporates six (6) documents filedthere-
with entitled "Claim For Mandatory Judicial Notice, Nos. 1, 2, 3, 4, 5 and 6."

4. The direct parties to these proceedings and all of their privities are hereby or-
dered to binding arbitration to resolve their ongoing controversies, forevermore.

5. These arbitration proceedings shall be conducted in compliance with the Arbitration
Agreement and Contract at page 4 of 6 of the initial Complaint, as Docket Entry No. 1.

ll IS SO ORDERED.

Date:

 

by:
Clerk of Court

 

Case 2:15-cV-02279-.]AD-GWF Document 10-1 Filed 09/07/16 Page 7 of 16 .

VIANAV. BA]lEY(609)742-7804
124 N. Virgirtia mens y
Atlantic City, N.J. 08!101 . _ '
` UNl'l`ED STATES DISTRICI` COURT
FOR THE DlSTRl'CT OF NEVADA

VlANA V' BAILEY » - ) case no. 2 1`5_-¢v-2279

Plaintiff, ) motion or ACCEPTANCE or oFFER or JuooMENt,
. ._ ) Fed R. Civ P 68(3) ,
v» ' ) cERTIFloATE or sERVICF.,
, t N, 28 us s
wirth osomz HA_RRIS, rt AL. , ) AFlW€/H§ON AND VERIFICATIO. C
` Defendants.

 

'l`o: WlLI.lAM OSCAR HARRlS, Defendant .
l-lEZREBY TAl<E NOTICE that l, VlANAV BAILEY, the Plaint1l f in this cause Of
action, hereby ACC_EP']IS the Offer of Judgment, Fed. R. in. P. 68, that you, lllLLl'AM `
oscar HAnul`sf; defendant have served upon me this day 01,1'2016.

Take note that l fully agree that this judgment to be taken will fully incorpor~

ate ALL of the terms and conditions you have detailed in your Offer of Ji\dgment, which

rat ifies and fully incorporates, `for conclusive e._'_dentiary purposes, the accompanying six

(6) documents entitled "Claim for Mandatory Judicial Notice Nos. 1, 2, 3, 4, 5, and 6"

that are being filed concurrently herewith, giving res judicata and collateral estoppel
effect to ALL of these matters forevermore.

AFFIRMATION and VERIFICATlON 1
ln accordance with 2_8 USCS§17l16(1), under the penalties of perjury, l do here-
by certi'lly that the foregoing is all true, correct, certain and not misleading, i. e
the facts of the matt.er. Ececuted this ’)/§ day of SUA\\ ' ,-'2016.

_ …lQ,lll

yVlANA V. BAlLEY , Plaintiff

f

CERT_:UIICATE O‘F SERVICE . 4
On this fL'§day of /U)\\| ,!_2016¢,'._'1 did place the foregoing in the U.S.
Mails as follows:

Wll.l.lAM OSCA_R HARRIS and the other defendants
\ 907 Cornerstone Place

Las Vegas, NV 89031

Under the penalties of perjury, re 28 USCS § 1746(1), l do hereby certify that the

foregoing is all true. correct and certain

VlANA v. BAILEY , Plaintiff
124 N. Virginia venue
Atlantic City, N. J. 081101

~Q_ \

 

Case 2:15-cV-02279-.JAD-GWF Document 10-1 Filed 09/07/16 Page 8 of 16
~. vnn¢\ v. amn(eog)mzqm
m N. Va a ¢ A
Atlantic Gity, N.J. 08401

UNl'l`ED STATES D_lSTRlCl‘ COURT
EOR THE DISTRICI‘ OF NEVADA
VlANA V. BAILEY

7

Case no. 2215-cV-2279
Plaintiff,

NOFICE OF ACCEPTANCE OF OFFER OF JUDCMENI`,
Fed.R.Civ.P. 68(8),
CERTIFICATE‘ OF SERVICF~ ,

AFFIRMATIQN AND vtniricarlon, za~usos §
171641). '

vL \. '

w;ctLiAM' oscar HARRIS, rr AL.,

'VV\/\/V

Defendan ts .

_ 191 _KQBERI, oA'-Jlo:'NEAL, ._ 1 1 , anew'd,émr,;_A 1 1 1 , , , ,,
tanner ram motion that 1,v1ANAv. BAILEY,
m W;tio“r‘h€r€§§;gc@g?l§`the Offer of Judgment, Fed.
DA\lID 'NEA“L',_ vvas:fendant, have _served upon me this_

the Plaintiff in this cause of
R,Civ{P. 68, that you, ROBERT

, day of , 2016.
'l"ake po te that."'l _ful_ly agree that this judgment to be taken will fully incorpor~

ate ALL of the~ terms and conditions you have detailed in your Offer of Judgment, which
ratifies and fully incorporates, for conclusive evidentiary purposes, the accompanying six
(6)~documents entitled "Claim for 'l’!andatory Judicial Notice Nos. 1, 2, 3, 4, 5, and 62
that are being filed concurrently herewith, giving 'res judicata and Collateral estoppel
effect to ALL of these matters forevermore.

’ AFFIRMA~*tloN and VERIFICA'TION
'In accordance with 28 USCS"`§ 17416:(1),_ under the penalties of perjury,~ ll do here-
by certify that the foregoing is all true, correct, certain and not misleading, i.e.
the facts of the matter. Executed this 1< day of :SLL\ _, 2016.

by= …LWA '

vIANA v. BAILEY@ Plaintiff

. ottT§iltrcAirr,\oF jsrnvlot _
O“ this /Z/< d~'=‘Y. Of. jul "" ?'2\016; l did place the foregoing in ~the U.S. -
liail's as follows: ~ ' ~ '

f

ROBERT DA_VID _NEAL and the other defendants
~ .~907 Qornerstone Place

Las Vegas, NV 89031

'.Under the penalties .of perjury,.

. re 28 USCS
foregoing is all true-.correct.and cert

§ 1746(1), ]'. do hereby certify that the
ann ` ' `

by' …11 Q,U¢l/

vIANA v. BAILf;l. , Plaintiff
124 N. Viri'

ginia Avenue

Atlantic City, N.J. 08401

5- C\/- 02279- .]AD- GWF Document 10- 1 Filed 09/07/16 Page 9 of 16
VIANAV. §§if'rz(elo$))zm
124 N Virigirna ANemez
Atlant;l'c Gity, N.J. 08!101

UNI'l`ED S'l-`ATES DISTRICT COURT
F_`OR THE DISTRICI` OF NE_VADA

VIANA v. BAILEY

 

’ ) Case no. 2215-cV-2279
Plal“*'lff.' ) monies 01-7 AocsPTANcE oF osan 01~7 suocnsl\lr,
. ) Fed R Civ P. 68(a),
"~ ‘- ) om'rltic¢\'rs oF stnvlcr., §
, ._ 2 11 cs
1,1;11111\11 oscar HARRIS, sr AL., ) AF%ZYBON AND VERlFICATI?N’ 8 5 b
' Defendants.
lmqu RALPH TAYLoR,,,,,,l_ Dsgenda&p…,_, 1

l~lEREBY TAKE NUl`lCE that 1 VIANA_V. BAlLH, the Plaintlf f in this cause of
, action, hereby ACCEP'J.`S the 0ffer of Judgment, l`ed. `R. Civ.P 68, that you, RALPH
TAYLOR, ' defendant have _served upon me this day of , 2016.

Take note that l fully agree that this judgment to be taken will fully incorpor-

ate ALL of t-`he terms and conditions you have detailed in your Offer of Judgrnent, which

ratifies and fully incorporates, for conclusive evidentiary purposes, the accompanying six
(6) documents entitled "Claim for Mandatory Judicial Notice Nos 1, 2, 3, 4, 5, 31’1€15 "

that are being filed concurrently herewith, giving res7 judicata and collateral estoppel
effect to ALL of these matters forevermore

AFFIRMA’lION and VERIF]'.CA'].`ION

ln accordance with 28 USCS§ ' 17116(1), under the penalties of perjury, l do her'e~

by certify that the foregoing is all true, correct, certain and not misleading, °i. e
the facts of the matter. E:cecuted this '2/§ day of 3 M`X\l ,'.2016.

~/UY`M Q_lM

VIANA v. 'BXILEY Viaintiff

CERT_'T.~I[`.lGATE OF SERVICE _
On this Z/§ day 0£”§\1\\' l

Mails as follows:

,~2016, l did place the foregoing in the U.S. '

RALPH 'I`AYLQR and the other defendants
\ 90_7 Cornerstone Place

Las Vegas, NV 89031

Under the penalties of perjury,

re 28 USCS § 1746(1),1 do herehy certify that the
foregoing is all true-. correct and cert

ain

by=v_al@d(lw

vIANA v. BAILE ,Plainv'iff

124N Vir 1n1a A
Atlantic C§ty, N. g?ng§éOl

- - - 1 - vvF Do
ease 2.15 cv 02279 JADAGS S l

‘STATE OF NEVADA

CLARK COUNTY

Cument10-1 Filed 09/07/16 Page 10 of 16
G N b1‘E N T

E X ll I B l ij A

: Affirmed and signed.

BE lT KNOWN, that the undersigned, using the mark WllllAM OSCAR HARRIS, as Assignor, hav~

ing been entitled to three($) .
a/k/a BOP ref. no. TRT~NCR~ZOlZ-OSS 6, in

the sum certain amount of One Million One Hun-

pntemlnwiceiNos.delineated herein as follows: a) NC72012~2,

dred Eight Thousand ($1,108,000.00 USD) Dollars, as evidenced_in Exhibit A affixed hereto
and made a part hereof at page 6 of 31 herein; b) DJN0608504T7, in the sum certain amount

of One Hundred Fifty Million Five Hundred
926.00 USD) Dollars, in Erhibit 1 at page
certain amount of One Million One Hundred

idenned in Exhibit;Z at page 22 of 31' hereof,

»¢~~uableiconsideration;"these“said"propér_lnvoices,fre laws to principal, agent, successors

and assigns applying, to wit:
l, '
lying collateral debt obligations arising

and Exhibit 1 at pages 15 thru 16 and Exhibit 2 at pages 23 thru 24 hereof~

Four Thousand Nine Hundred Twenty-six ($150,50&,
14 of 31 hereof, and c) RL71132-4$ in the sum

Six Thousand ($1,106,000.00 USD) Dollars, as ev*
is desiwu§,,,e’§,a§sisning,,£gl:__.t;'air_ariyal,~,m

This effective Assignment for value of these said proper Invoices has as its under-

in tort. See Exhibit B at pages 7 thru 8 herein

. J

2. ii This Assignment of these said.proper Invoices; without recourse, is valid and fully
'enforceable under the laws of the United States,'New Jersey state, Indiana state, Califor~

nia state, Pennsylyania state, New Ydrk state and the Disrtict of Columbia or otherwise,
which serve as the controlling legal authorities regarding its creation, eqforcem€nt and

interpretation in this matter.

3. This Assignment is made to VIANA.\f. BAILEY` as the Assignee, specifically to ef~

fect and facilitate the collection and liquidation of the sums due and owing from'these
said proper Invoic§sf See Exhibit E'at pages 11~ thru 12 hereof.

4 The consideration of this Assi

~ gnment of these said proper Invoices is embodied in
the Promissory Note attached hereto as Exhibit C at Page 9 of 31 herein.

5. This Assignment of these said proper lnvoices, negotiable instruments and documents
of title, as per the uniform statute as evidenced at District of Columbia Code Sections
28~1:201, 2843:203} 28-3:302, 28~5:102, 28-7:104 and 2849:109-or othérwise,~as adopted by

all 50 states, is made freely and consentually

6. This Assignpr conveys, as a result

by this Assignor for usetw'this Assignee.
of this Assignment of these proper lnvoices,all.

rights, title and interest in these groper Invoices forevermore.

/.- *This Assignment of these said prope
thereof, does not abrogate this Assignor s
soever, related herewith to be subject to

olution in accordance with the terms and c
tract; see Exhibit D at page10 of 31 herei
ment provisions for the said proper Invoic
nee, purusant to the Federal Arbitration A
Uniform Arbitration Act as adopted by the

r Invoices, with all rights, title and interest
rights, re any dispute and/or controversy, what
compulsory and binding arbitration for their res
onditions of the Arbitration Agreement and Con~
n, including the underlying arbitration agree~
es, by and“between this Assignor and this Assi`~
ct as evidenced by 9 USCS § 1 et seq., and the~
states referenced in U 2 above, among others.

l

l

AFFIRMATION AND VERIFICATION

Under the pains and penalties‘of perjury;
verifies, upon full commercial liability,
and not misleading, the truth, the whole t
and presented this 1`6 th day of June

re 28 USCS § 1746 (1), this Assignor affirnr;and
the contents herein are certain1 correct, complete
ruth and nothing but the truth as done, signed

, Common Era 2015. ‘

by/TAA}/de d,(,i¢/ baned:oe/ie/zois ` by= “1 Zfa»-:::,Im¢¢»""`

VlANA"VT BAI,L Y _, A;Ssignee
3 Manitoba Av e
Brigantine, N.J..O8203

Page 6 of 32

wiLLfZM oscAR'HARRIs, Assignor
907 Cornerstone Place
; Las Vegas, NV 89031

Case 2:15-c\/- 02279- .]AD- GWF Document 10- 1 Filed 09/07/16 §a§eél]pfm 16 IT ' A

PRoMIssoRY NoTE NEXHIBITME

l, as the Assignee of three (3) proper Invoices from this Assignor, WIILIAM OSCAR
HARRIS, as the Priority Claim Holder thereof, do promise to pay as follows:
Invoice No. NC72012-2 ~ Ninety Percent (90%);
Invoice No. DJN660850-T7 ~ Ninety~five Percent (95%), and
Invoice No. RL71132~4 ~ Ninety Percent (§0%),
of the value received hereto prior to 365 days of thei.r effective assignmeht, or ten (10)
days from their due liquidation and collection, whichever comes first, without defalca~ j

tion for the value received, and as is unconditionally due

'Date due: June 15, 2016

111

Assignee' s/Maker s  Siganue~

_VIANA V BAILEY
Assignee' s,/Mak% sPrinted Name'

 

3 Mahitoba Avenue

 

Assignee' s/Maker' s Street Address
Brigantine, N. J 08203

 

Assignee s/Makerl s City and State

_Bage 10 of 32

Case 2:15-cV-02279-.]AD-GWF Document 10-1 Filed 09/07/16 Page 12 of 16

13v x H 1 B "r T A
ARBITRATION AGREEMENT AND coNTRAcT -EX,H1;1`.3;_1'-1`_5_~f'i‘;Dy

For the due consideration as provided in the accompanying Assignment between the Parties
of the even date, i.e. sent

ients known by the names of V`IANAe V. BAI'LEY ' , as Assignee,
and WILLIAM OSCAR_HARRIS, as Assignor, with which this instant Arbitration Agreement and
Contract ("Agreement"), is conclusively ratified and fully incorporated therein for thel
enforcement thereof, the parties do agree and confirm as follows:
1. ln accordance with the Federal Arbit

the laws of;. the states of California,‘lndiana, New Jersey, Pennsylvania,’~.N§_V,ada and the
District of Columbia or otherwise, ALL past

, present and future controversies, claims, dis-
putes and/or issues arising out of this proper Assignment, re lnvoice Nos. NC72012-2,DJN
060850#T7 and.RL71132-4, including the underlying arbitration agreement provisions of Uhese
said proper Invoices, shall be subject to compulsory and binding garbi§?;a:t`i§)§l;, ,, , ,
` " `2. 7 'l'he arbitrator(s) appointed her.eunder, and NOT any federal, state or local court

or agency, shall have 'exclusive jurisdiction and authority to resolve any dispute re~
lating to the interpretation, applicability, enforceability and/or formation of thisAgree~
menty_including but not-limited,to any and all claims that~this Agreement and the proper
Assignment are'woid or voidable. 'W »

ration Act as evidenced by 9 USCS § 1'et seq.,

3, Any such claim shall subject the Parties, giving three (3) days Notice, tO"QOm§Ui*
Snry and binding arbitration conducted by the American Arbitration Assoclation_( AAA )y
in accordance with the AAA's Commercial Arbitration Rules, which shall govern the pro~
ceeding. “= ' ' - ’

4- The judgment on the award rendered by the arbitrator(s) may be entered into any
court having jurisdiction thereof for execution*and enforcement.
5.

Such arbitration shall be conducted by a panel constituted of three (3) arbitratOr(S),
one i1) each selected by th

e two (27 Party(ies) to the arbitration, and a third arbitra~
tor §elected by the two iZ) ChOSen arbitrator(s). All arbitration proceedings shall be
held at a mutually agreeable location. lhe arbitrator(s) shall all be members, in good
standing, of the AAA. ` _

-.

6. ` ne decision of the
the arbitration, andtu)st
involved- `

7. A_ny and allocate and fees
whatsoever, associated with the
shall be borne solely by the Par

the Assignment, thus compelling an arbitration resolution.

8- The judgment on the award_shall be rendered by the arbitrator§s) no lateriixn1thre€
(3) calendar days from the datef

,pf the closing of the hearing, which is inclusive of the
AAA's transmittal of the final statement and proofs to the arbitrator(S)-

arbitrator(s) shall be final and binding upon the Parties to
atutory'right or otherwise shall exist to re11t1gate the issues

,'including any pre~award expenses and fees of any kind,
arbitration, whether for monetary or non~monetary¢:laims,
ty who has refused, neglected or failed to comply with

Further, this Agreement shall be deemed to be valid, irrevocable and enforceable upon the
Parties. Respectfully don

 

 

. 2 e, prepared, signed and presented this 116tt1day'of ~June ,
Commpn Era 2015. ’
_/1 wall ,, ski
viKNA v. BAILE _ ~ _. wm;IAM OSCAR HAW
Assignee `*~ A$Signort -
3'Manitoba Avenu ' 907 Cornerstone Place
Brigantine, N.J. 08203

Las Vegas, NV 89031

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‘ 1 CaS€ 2215-CV-02279=JAD-GWF lDOCUr§g[rrll'[[!\]é?l-l_Er|;i|eg($)PéO?/l€ Page 13 Of 16

Ms.!u Kellylbrner,~Esq. `Notice Of Non-Monetary Arbitrationy and

American Arbitration Association . . . .
150 N. Michigan Avenue Application Eor Appointment Of An Energency

Suite 3050 Arbitrator
Chicago, lL 60601

Re: Case No. : 2:15-cv-2279
Case Name: BAILEY v. HARRI$5 et al.
Court ' : U.S. District Court/District of Nevada

Greetings Ms._lurner:

In a final judgment entered in the above referenced proceeding, ALL Of the parties
thereto, plus certain individuals designated as "parties in privity," or tortfeasors, in
' the sour t - records have *been~ ordered*to ran arbi trati‘on proceeding ito` be con_duc' ted_by your * ‘ ' c `
organization. A copy of the court-ratified Arbitration Agreement and Contract is affixed
hereto as Exhibit A for your perusal. . ‘

ln this courtlordered arbitration proceeding, which has been agreed to by thisf@ain-
tiff and the 3 defendants, certain individuals designated as parties in privity arelneipg
required to appear, along with this Plaintiff and these 3 defendants, and show cause as
to why each, individually, is not legally bound by this final judgment and thus notsub~
ject to all of its terms and conditions, via the legal doctrine of res judicata. See § 5
of this Offer of'Judgment as incorporated and ratified in the final judgment.

As per f 4 of this Offer.of Judgment, at page no. 2 thereof, the appointment of
an emergency arbitrator has been ordered by the court pursuant to Rule R-38 of your organ-
ization s Commercial Arbitration Rules. This judgment-mandated appointment is necessary
and appropriate because these designated parties in privity, operating in open defiance
of this final judgment, have refused to comply with the terms and conditions thereof by
continuing to impair these 3 defendants' efforts to fulfill their obligations to this Plain-

tiff, while also restraining the due liberty interests of these 3 defendants' person and

property. ‘ " ` g
j This final judgment, having incorporated and ratified this Offer of Judgment, iden-

tifies 13 of these parties in privity specifically, by name, as follows: `

Charles E. Samuels, Jr; Kathleen M. Kenney
Richard W§ Schott s Charles A. Daniels
Clint Swift Michael Sample
Katherine Seireveld ~ lravis Weber

F. Timothy Coleman x ` Paul M. Laird
Evelyn Keller '* Leann LaRiva

Mark Smi. th 9

and each, including successors and assigns, can be reached through the EBOP, 320 First
Street, NW, Washington)FDQj20534,'telephone‘no.?(202)307-2105.

The court?.in 116v ‘»of this court-ratified Offer of Judgment at page no~ 2
thereof, has already recognized and sanctioned injunctive relief as a required remedy to
secure due compliance with this final judgment by these designated parties in privity.
See also t 7 lthereof. As such, the emergency arbitrator will be asked to grant this
court-ordered injunctive relief directed toward these 13 parties in privity, requiring
them to cease and desist from their refusal to respect all of the terms and conditions of
this court~sanctioned 0ffer of Judgment, which have served to impair these 3 defendants'
efforts to comply with their obligations due this Plaintiff, as embodied in the Assignments

that underlie this entire proceeding. See “'S Z(c), (d) and 5 of this Offer of Judgment
at pages 1 and 2 fthereof.

1 of 3

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v As an integral element of this request for injunctive relief, this court~sanctioned
Offer of Judgment has already waived any requirement, whatsoever, of a bond posting by
either this Plaintiff or these 3 defendants. Again, see t 17 of this Offer of Judgment
at pages 2 thru 3 thereof. '

By service of a copy of this Notice, as denoted below, ALL of the direct parties
to the court proceeding, plus these 13 court-designated parties in privity, have beenfmc-
perly notified in accordance with your organization's notice requirement, Also, I stand
ready and able to remit the required processing fee, as per your Standard Fee Schedule,
forthisiunrnmnetary proceeding as soon as l hear back from you as to the form this`pay~
ment should take along with any routing/delivery instructions.

_ As per the court's order, as delineated in “'s 63 8, 9, 11 and 12,. at PageS-Qa 3
and a of this Offer of Judgment, it is contemplated that, at a later date, a second com-
mercial arbitration proceeding, which is to be monetary in nature, will be initiatedand

A§§§§HQP?d.bY__)/Q\_l__r`_Qrganizration,,lat.that time,rdiscovery_will;becobtainedland_certainlin:dhw…

dividuals, already determined by the court to_be parties in privity hereto, some of whom
are identified in the document denoted in.“ Z(e) thereof, will be required to formally
appear and show cause as to why they personally should not be assessed ALL of the finan~
cial reparations awarded by the court in its final judgment.u

With respect for the foregoing, please forward this Notice, if appropriate,tx)the
office of your organization which covers the Nevada state, requesting the immediate ap~

pointment of the emergency arbitrator. l look forward to your kind, prompt and warranted
response to these matters. '

Sincerely,

»4.

worth 1 1

VlANA V. BAILEY

Plaintiff

124 N. Virginia A nue
Atlantic City, N.J. 08401
Phone: (609)742-7804
Email: vibailey6@gmail.com

encls.

cc: WlLLlAM OSCAR HARRIS,
ROBERT DAVID NEAL, and
RALPH TAYLOR
c/o 907 Cornerstone Place
Las Vegas, NV 89031, and

Charles E. Samuels, Jr., Kathleen M. Kenney, Paul M. Laird, Richard W, Schott, Charles
A. Daniels, Leann LaRiva, Michael Sample, Clint Swift, Katherine Seireveld, Evelyn

Keller, F. Timothy Coleman, Travis Weber and Mark Smith
c/o FBOP

320 First Street, NW
Washington, D.C. 20534

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v 13 X a 1 s r T A
ARBITRATION AGREEMENT AND coNTRAcT `

provided in the accompanying Assignment between.the Parties
of the even date, i.e. sentients, known by the names o.fTVIANA V. BAILEY ' , as Assignee,

and'WlLLIAM OSCAR"HARRIS, as Assignor, with which this instant Arbitration Agreement and`
Contract ("Agreement"), is conclusively ratified and fully incorporated therein for the
enforcement thereof, the parties do agree and confirm as follows: '

1. ln accordance with the Federal Arbitration Act as evidenced by 9 USCS § 1'et se .,
the laws of the states of California, Indiana, New Jersey, Pennsylvania,d§evadan andt e
District of Columbia or otherwise, ALL past, present and future controversies, claims, dis~
putes§and/or issues arising out of this proper Assignment, re Invoice Nos. NC72012-2,DJN
060850-T7 and RL71132*4, including the underlying arbitration agreement provisions ofthese
_§§§§_Qr??¢rlqui§§S¢.§ball,beisubject.to_compulsery-and-bindingarbitrafionv‘*“ """"

2. ~The arbitrator(s) appointed hereunder,
or agency, shall have 'exclusive jurisdiction
lating to the interpretation, applicability,
ment,7including_but not limited
Assignment are'woid or voidable. . d
33 Any such claim shall subject the Parties, giving three (3) days Notice, to compul~
Snry and binding arbitration conducted by the American Arbitration Association ("AAA"),
in accordance with the AAA's Commercial Arbitration_Rules, which shall govern the prO~

and NOT any federal, state or local court
and authority to resolve any dispute re~
.enforceability and/or formation of thisAgree~
to any and all claims that-this Agreement and the proper

ceeding.

4. The judgment on the award rende
court having jurisdiction thereof for executionfand enforcement.

5n 4 Such arbitration shall be conducted by a panel constituted of three (3) arbitrator(s),
one §l) each selected by the two (2) Party(ies) to the arbitration, and a third arbitra~
tor selected by the two (2) chosen arbitrator(s). All arbitration proceedings shall be

held¥at a mutually agreeable location» The arbitrator(s) shall all be members, in gOOd
standing, of the AAA, ` .

6. The decision of the arbitrator(s) shall be final and binding upon the Partie$`to
the arbitration, andrm)sta

l tutory right or otherwise shall exist to relitigate the issues
involved. ' .

75 ADY and all GOStS and fees, including any pre~award expenses and fees of any kind,
whatsoever, associated with the arbitratio

\ n, whether for monetary or non~monetary<:laims,
Shall'be borne Sol¢ly by the Party who has refused, neglected or failed to comply with
the gssignment, thus compelling an arbitration resolution. _

8- The judgment on the award shall be rendered by the arbitrator(s) no later\iun\three
(3) calendar days from the datefpf the closing of the hearing, which is inclusive of the
AAA's transmittal of the final sta;ement and proofs to the arbitrator(S)~

red by the arbitrator(s) may be entered into any

Fnrther, this Agreement shall be deemed to be valid, irrevocable and enforceable upon the
Parties. Respectfully done,

prepared, signed and presented this 116th.day of `June
Common Era 2015._‘ '

Assignee

1

ajL:\».-\/

waLiAM oscAR HARRIS

 

 

  

, , ' .., Assignor
3 Nanlt<_)ba Avenu _ ` `, ~ 9`07 cornerstone Place
Brigantine, N.J. 8§03 Las Vegas, NV 89031

3 of 3

Case 2:15-cV-02279-.]AD-GWF Document 10-1 Filed 09/07/16 Page 16 of 16
` PROMISSORY NOTE - EXTENSION NO. 1

1, VlANA V. BAILEY, as the Assignee ot three (3) proper invoices from Assignor, WILLIAM
OSCAR HARRIS, the Priority Claim Holder thereof, do promise to pay this Assignor, on or
before a 365 extension period from the due date of the original Promissory Noueo£Jhne 15,

2016, re the following:
lnvoice No. NC72012-2-rNinety Percent (90%);

lnvoice No. DJN060850-T7 - Ninety-five (95%), and

lnvoice No. RL71132-4 - Ninety Percent (90%)
for the value received hereto prior to this extension period, or ten (10) days of their
due liquidation and collection, which ever comes first, without defalcation for dmevalue

~received;-and-as»is unconditionally-due.

Extended Due Date: June 16, 2017

 

Assigneels/Maker's ignature

 

VTANA V. BAILEY
Assigneefs/Makerfs Printed Name

124 N. Virginia Avenue
Assignee's/Maker's Street Address

Atlantic City, New Jersey 08401
Assignee's/Maker's City and State

Accepted and agreed to:

Date: June 15, 2016 3

wILL'IAM oscAR HARRIS
Assignor/Priority Claim Holder
907 Cornerstone Place

Las Vegas, NV 89031

 

